Case 4:19-cv-00100-ALM-KPJ Document 37 Filed 03/29/19 Page 1 of 2 PageID #: 424



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 SECURITIES AND EXCHANGE COMMISSION,                         §
                                                             §
        Plaintiff,                                           §
                                                             §
 v.                                                          §
                                                             §
 PHILLIP MICHAEL CARTER, Individually and                    §
 d/b/a NORTH FORTY DEVELOPMENT CAPITAL                       § Case No.:
 ACCOUNT, BOBBY EUGENE GUESS, RICHARD                        § 4:19-CV-00100-ALM-KPJ
 GREGORY TILFORD, NORTH-FORTY                                §
 DEVELOPMENT LLC, NORTH FORTY                                §
 DEVELOPMENT, LLC, TEXAS CASH COW, LLC,                      §
 f/k/a TEXAS CASH COW INVESTMENTS, LLC,                      §
 and TEXAS FIRST FINANCIAL, LLC,                             §
                                                             §
 Defendants, and                                             §
                                                             §
 FRISCO WADE CROSSING DEVELOPMENT                            §
 PARTNERS, LLC, MCKINNEY EXECUTIVE                           §
 SUITES AT CRESCENT PARC DEVELOPMENT                         §
 PARTNERS, LLC, CHRISTIAN CUSTOM HOMES,                      §
 LLC, and DOUBLE DROPTINE RANCH, LLC                         §
                                                             §
 Relief Defendants.                                          §


       ORDER MODIFYING ORDER FREEZING ASSETS, REQUIRING SWORN
               ACCOUNTING, AND PRESERVING DOCUMENTS


        On March 12, 2019, this Court entered an Order Freezing Assets, Requiring Sworn

 Accounting and Preserving Documents (the “Order”) (Dkt. 32). The Order provided that “[u]ntil

 further Order of this Court, [Phillip] Carter may withdraw no more than $20,000.00 of otherwise

 frozen assets as a “carve-out” allowance for living expenses. See Dkt. 32 at 2. Since the Order was

 issued, Phillip Carter (through attorney proffer) disclosed to the Securities and Exchange

 Commission that he had in his possession, among other things, $29,000.00 in an American

 National Bank checking account, $640.00 in a savings account with Independence Bank, and an
                                                 1
    Case 4:19-cv-00100-ALM-KPJ Document 37 Filed 03/29/19 Page 2 of 2 PageID #: 425



     estimated $8,000.00 of value in a TD Ameritrade account in the name of Shelley Carter. The

     Securities and Exchange Commission and Phillip Carter notified the Court that they have reached

     an agreement whereby Carter may withdraw the remaining amounts in the three accounts described

     above, without replenishment, for living expenses, provided that there will be no further carve-

     outs from existing funds or assets.

             Upon consideration, IT IS HEREBY ORDERED that the Order is modified to permit

     Phillip Carter to withdraw the remaining amounts in the three accounts described above as a
.    “carve-out” allowance for living expenses.

             IT IS FURTHER ORDERED that the all other provisions of the Order (Dkt. 32) remain

     in full force and effect.

             IT IS SO ORDERED.

             SIGNED this 29th day of March, 2019.

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                                                  ____________________________________
                                                  KIMBERLY C. PRIEST JOHNSON
                                                  UNITED STATES MAGISTRATE JUDGE




                                           Page 2 of 2
